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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DAVID E. DEWALD, II,

                      Plaintiff,
                                                     CIVIL ACTION
           v.                                        NO. 16-4597


CO JENKINS, et al.,

                      Defendants.


                                    ORDER

      AND NOW, this 2nd day of April, 2019, it is ORDERED that the case is

DISMISSED with prejudice and the Clerk of Court is directed to mark the case

CLOSED.


                                           BY THE COURT:



                                           /s/ Gerald J. Pappert
                                           GERALD J. PAPPERT, J.
